     Case 3:21-cr-00388-JLS Document 38 Filed 09/07/21 PageID.98 Page 1 of 2




 1

 2

 3                            UNITED STATES DISTRICT COURT
 4                         SOUTHERN DISTRICT OF CALIFORNIA
 5

 6   UNITED STATES OF AMERICA,                       Case No. 21-cr-00388-JLS

 7                          Plaintiff,               I N F O R M A T I O N
                                                          SUPERSEDING
 8        v.
                                                     Title 21, U.S.C., Secs.
 9                                                   952 and 960 - Importation of
     PAOLA GARCIA-MARTINEZ,                          Methamphetamine, and N-
10                                                   phenyl-N- [1-( 2-phenylethyl )-
                            Defendant.               4-piperidinyl] propenamide
11                                                   (fentanyl)(Felony);
                                                     Title 18, U.S.C., 1001 –
12                                                   False Statement to Government
                                                     Agency (Felony)
13

14       The Acting United States Attorney charges:
15                                         Count 1
16                                            Count 1
17        On or about December 2, 2020, within the Southern District of
18 California,     defendant       PAOLA   GARCIA-MARTINEZ,       did    knowingly   and
19 intentionally     import    500   grams   and     more,   to   wit:    approximately
20 20.12 kilograms (44.35 pounds) of a mixture and substance containing a

21 detectable     amount      of   methamphetamine,      a    Schedule II    Controlled
22 Substance, into the United States from a place outside thereof; in

23 violation of Title 21, United States Code, Sections 952 and 960.

24                                         Count 2
25       On or about December 2, 2020, within the Southern District of
26 California,     defendant       PAOLA   GARCIA-MARTINEZ,       did    knowingly   and
27 intentionally     import    400   grams   and     more,   to   wit:    approximately
28 2.20 kilograms (4.85 pounds) of a mixture and substance containing a
     Case 3:21-cr-00388-JLS Document 38 Filed 09/07/21 PageID.99 Page 2 of 2




 1 detectable      amount   of    N-phenyl-N- [1-( 2-phenylethyl )-4-piperidinyl]
 2 propanamide (fentanyl), a Schedule II Controlled Substance, into the

 3 United States from a place outside thereof; in violation of Title 21,

 4 United States Code, Sections 952 and 960.

 5                                        Count 3

 6       On or about December 2, 2020, within the Southern District of

 7 California,     defendant,     PAOLA    GARCIA-MARTINEZ,     did    willfully    and

 8 knowingly make a materially false, fictitious, and fraudulent statement

 9 and representation in a matter within the jurisdiction the Department

10 of Homeland Security, an agency of the executive branch of the Government

11 of the United States, during primary inspection at the San Ysidro, Port

12 of Entry, PAOLA GARCIA-MARTINEZ represented and stated to a Department

13 of   Homeland   Security,     United   States    Customs   and   Border   Protection

14 Officer that she had nothing to declare. The statement and representation

15 was false because, as PAOLA GARCIA-MARTINEZ then and there well knew,

16 she had allowed a third party to conceal contraband inside her vehicle

17 for the purposes of smuggling the contraband into the United States; all

18 in violation of Title 18, United States Code, Section 1001(a)(2).

19              7/29/2021
         DATED: _______________.

20                                           RANDY S. GROSSMAN
                                             Acting United States Attorney
21

22

23                                           ALICIA P. WILLIAMS
                                             Assistant U.S. Attorney
24
                                             2
25

26

27

28
